 1                                                                      The Honorable Karen A. Overstreet
                                                                                               Chapter 11
 2
   George S. Treperinas, WSBA #15434                                   Hearing Location: Seattle, Rm 7206
 3 Stephen S. McKay, WSBA #42046                            Hearing Date: December 17, 2010 (on shortened
                                                                                                      time)
 4 Karr Tuttle Campbell                                                          Hearing Time: 9:30 a.m.
   1201 Third Avenue, Suite 2900
 5 Seattle, WA 98101                                           Response Date: December 17, 2010 (time of
    (206) 223-1313                                                                                 hearing)
 6
 7
 8
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10
                            UNITED STATES BANKRUPTCY COURT
11                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
12
      In re
13
                                                       Case No. 10-18668-KAO
14    FREDERICK D. BERG
                                                       TRUSTEE’S MOTION FOR APPROVAL OF
15                             Debtor.                 CONSIGNMENT AND SALES AGREEMENT
16                                                     AND SALE OF AUTOMOBILE

17
                                           I.      RELIEF REQUESTED
18
19              Diana K. Carey (“Trustee”), Chapter 11 Trustee for the Debtor, through her undersigned

20   counsel, pursuant to 11 U.S.C. § 363, moves the Court for an Order approving the terms of sale and

21   the resulting sale of the automobile described herein on the terms contained in Exhibit A to the

22   Declaration of Andrew Wilson (“Wilson Decl.”), and approving the sale of the asset contemplated

23   therein.

24                                       II.     STATEMENT OF FACTS

25              1.      On July 27, 2010, Debtor Frederick D. Berg filed a petition under Chapter 11 of the
26   United States Bankruptcy Code.
27
28
     MOTION FOR APPROVAL OF CONSIGNMENT                                                            Law Offices

     AND SALES AGREEMENT AND SALE OF                                       KARR T UTTLE CAMPBELL
                                                                                        ¬                    ¬




                                                                                         A Professional Service Corporation
     AUTOMOBILE - 1
                                                                          1201 Third Avenue, Suite 2900, Seattle, Washington 98101-3028
     #780368 v1 / 40572-001                                                     Telephone (206) 223-1313, Facsimile (206) 682-7100



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 1             2.       On August 19, 2010, an order was entered appointing Trustee over the Bankruptcy
 2   Estate.
 3             3.       Since appointment, the Trustee and her advisors have diligently searched for assets of
 4   the Bankruptcy Estate.        Through these efforts, the Trustee has possession of a 2010 Audi S5
 5   Convertible, VIN #WAUVGAFH4AN025053 (the “Asset”).
 6             4.       The Trustee believes that quickly and efficiently liquidating the Asset is in the best
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     interest of the estate. Furthermore, consigning the Asset is in the best interest of the estate, because
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     Landmark Motors, LLC has agreed to insure the Asset while it is in its possession and will store the
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10   Asset indoors in a heated facility. Landmark Motors, LLC has further agreed to prepare the Asset for

11   sale, which shall involve among other things, detailing the vehicle and assuring that it is in the best
12
     possible condition prior to being sold.
13
               5.       By entering into a Consignment and Sales Agreement (the “Agreement”) with
14
15   Landmark Motors, LLC, the Asset will be sold in the near future, in an amount that shall not net less

16   than $45,000 for the estate (prior to accounting for any encumbrances on the Asset).
17
                                          III.    STATEMENT OF ISSUES
18
               Whether the Court should enter an Order permitting the Trustee to enter into the Agreement
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20   and to sell the Asset pursuant to the terms of the Agreement free and clear of liens pursuant to 11

21   U.S.C. § 363?
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                                                 IV.    AUTHORITY
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               This Motion is brought pursuant to Fed. R. Bankr. P. 9013, Local Rule 9013, 11 U.S.C. § 363
24
     and 11 U.S.C. § 105. Bankruptcy Code § 363(b) generally provides that the Trustee, after notice and
25
     a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the
26
     Bankruptcy Estate. § 363(f) provides that the Trustee may sell property under subsection (b) free and
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28
     MOTION FOR APPROVAL OF CONSIGNMENT                                                              Law Offices

     AND SALES AGREEMENT AND SALE OF                                         KARR T UTTLE CAMPBELL
                                                                                          ¬                    ¬




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 1   clear of interests if (1) applicable non-bankruptcy law permits sale of such property free and clear of
 2   such interest; (2) such entity consents; and (3) such interest is a lien and the price at which such
 3   property is to be sold is greater than the aggregate value of the liens on such property. The Trustee
 4   does not believe that any party has a lien, or other encumbrance on the Asset, and that Berg owns the
 5   Asset free and clear of liens, encumbrances, or other claims. The sales price for the Asset per the
 6   Agreement is not to be less than $45,000.
 7            The Trustee proposes to use the proceeds from the sale contemplated hereby in the normal
 8   course or as otherwise approved by the Court.
 9                                           V.      CONCLUSION
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              For the reasons stated above, the Trustee respectfully requests that the Court enter an order,
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     (i) approving the terms of the Agreement, (ii) approving the sale of the Asset as contemplated by the
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13   Agreement, and (iii) declaring that the sale is free and clear of all liens, claims, and encumbrances (if

14   any) and that such liens, claims, and encumbrances (if any), shall attach with the same priority as they
15
     currently exist to the net proceeds received by the Trustee from the purchaser of the Asset.
16
              DATED this 14th day of December, 2010.
17
18
19                                                 KARR TUTTLE CAMPBELL
20
21
                                                   By: /s/ Stephen S. McKay
22                                                      George S. Treperinas, WSBA #15434
23                                                      Stephen S. McKay, WSBA #42046
                                                        Attorneys for Diana K. Carey, Chapter 11 Trustee
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     MOTION FOR APPROVAL OF CONSIGNMENT                                                            Law Offices

     AND SALES AGREEMENT AND SALE OF                                       KARR T UTTLE CAMPBELL
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